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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                       )
JOHN DOE,                              )
                                       )
               Petitioner,             ) Civil Action No. 1:17-cv-2069 (TSC)
                                       )
      v.                               )
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )


                     RESPONDENT’S NOTICE OF EX PARTE FILING

       NOTICE is hereby given that on January 19, 2018, Respondent filed, through the

Classified Information Security Officer, a classified ex parte declaration.



January 19, 2018                                      Respectfully submitted,

                                                      CHAD A. READLER
                                                      Acting Assistant Attorney General
                                                      JESSIE K. LIU
                                                      United States Attorney
                                                      TERRY M. HENRY
                                                      Assistant Director, Federal Programs Branch

                                                      /s/ Kathryn L. Wyer
                                                      JAMES M. BURNHAM
                                                      Senior Counsel
                                                      KATHRYN L. WYER
                                                      Senior Trial Counsel, Federal Programs
                                                      U.S. Department of Justice, Civil Division
                                                      20 Massachusetts Avenue, N.W.
                                                      Washington, DC 20530
                                                      Tel. (202) 616-8475 / Fax (202) 616-8470
                                                      kathryn.wyer@usdoj.gov
                                                      Attorneys for Respondent
